     Case 3:16-cr-00051-BR    Document 2453   Filed 01/31/18   Page 1 of 8

                                                                             1

1                    IN THE UNITED STATES DISTRICT COURT
2                            FOR THE DISTRICT OF OREGON
3    UNITED STATES OF AMERICA,     )
                                   )
4              Plaintiff,          ) No. 3:16-cr-00051-BR-8
                                   )
5        v.                        )
                                   )
6    PETER T. SANTILLI,            ) March 7, 2016
                                   )
7              Defendant.          ) Portland, Oregon
     ______________________________)
8
9
10
11
12
13
14
15                              Detention Hearing
16                           TRANSCRIPT OF PROCEEDINGS
17                BEFORE THE HONORABLE STACIE F. BECKERMAN
18             UNITED STATES DISTRICT COURT MAGISTRATE JUDGE
19
20
21
22
23
24
25
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 2 of 8

                                                                            2

1
2                                  APPEARANCES
3
4    FOR THE PLAINTIFF:         Mr. Ethan Knight
                                United States Attorney's Office
5                               District of Oregon
                                1000 S.W. Third Avenue, Suite 600
6                               Portland, OR 97204
7
8                               Mr. Steven W. Myhre
                                United States Attorney's Office
9                               District of Nevada
                                333 Las Vegas Blvd. South, Suite 5000
10                              Las Vegas, NV 89101
11
12
13   FOR THE DEFENDANT:         Mr. Thomas K. Coan
                                Attorney at Law
14                              1001 S.W. Fifth Avenue, Suite 1400
                                Portland, OR 97204
15
16
17   COURT REPORTER:            Bonita J. Shumway, CSR, RMR, CRR
                                United States District Courthouse
18                              1000 S.W. Third Ave., Room 301
                                Portland, OR 97204
19                              (503) 326-8188
20
21
22
23
24
25
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 3 of 8

                                                                            3

1                            (P R O C E E D I N G S)
2               MR. KNIGHT: Good afternoon, Your Honor. The first
3    matter on today's docket is United States v. Peter Santilli.
4    We're appearing today on Magistrate's Case No. 16-mj-00024.
5    Ethan Knight and Steve Myhre from the District of Nevada
6    appearing today, Your Honor. And we're present today, Your
7    Honor, for a detention hearing in Mr. Santilli's matter from
8    the District of Nevada, having been set over by this Court last
9    week under Rule 5 of the Federal Rules of Criminal Procedure.
10              Your Honor, the government is prepared to proceed
11   today with Mr. Myhre handling the argument. I understand that
12   Mr. Coan is going to seek a setover in today's matter due to
13   the fact the government filed on Friday a detention memo.
14   Mr. Coan is appearing now with Mr. Santilli, who is present and
15   in custody.
16              THE COURT: What's your position on the setover,
17   Mr. Knight?
18              MR. KNIGHT: It would be the government's preference,
19   given the fact Mr. Myhre has traveled here today, to go ahead
20   today. If the Court is inclined to set it over, we will be
21   prepared to go at that time as well.
22              THE COURT: Thank you, Mr. Knight.
23              I'll hear from Mr. Coan.
24              MR. COAN: Good afternoon, Your Honor. Tom Coan for
25   Mr. Santilli. I was out of town until Saturday night at a
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 4 of 8

                                                                            4

1    conference in California, and I came back to find a 59-page
2    detention memo filed. I did get over to the jail yesterday to
3    visit with Mr. Santilli. We have only gone through half of it.
4    So he hasn't even been able to review with me the full
5    detention memo yet.
6                So I would ask for additional time. I could be ready
7    by Friday on this. I have noticed from looking at the screen
8    that the government also intends to offer a number of video
9    exhibits, and I can tell from past experience in this case that
10   many times these video snippets are taken without the full
11   context of the matter.
12               So what I would like to do is ask the Court for an
13   extension or a continuance until Friday, and ask the government
14   to provide the defense with these video exhibits so that we can
15   have an opportunity to look at them in a wider context.
16               THE COURT: Okay. Thank you.
17               Mr. Knight and Mr. Myhre -- Well, first, I assume,
18   Mr. Myhre, that you had not intended to stay in Portland for
19   the entire week?
20               MR. MYHRE: That's correct, Your Honor. But we can
21   be available on Friday if the Court sets it -- sets the matter
22   for that time. We will have someone here. We would prefer,
23   Your Honor, if the Court is going to continue the matter, that
24   we present at the same time rather than have it bifurcated in
25   some way.
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 5 of 8

                                                                            5

1               With respect to the video clips that the defense
2    attorney has alluded to, we intend to show -- or excuse me, we
3    intend to play one audio clip and one video clip, and we can
4    certainly provide counsel with a copy of those before Friday.
5               THE COURT: Okay. I appreciate that. Thanks for
6    doing that voluntarily.
7               Let me ask you, Mr. Myhre.
8               (Speaker feedback.)
9               THE CLERK: Sorry, Judge.
10              THE COURT: I always make it a point --
11              (Speaker feedback.)
12              THE COURT: They've been working on our equipment,
13   obviously. I'll try to speak loudly, but not too loudly.
14              Mr. Myhre, I make it a point to advise defendants who
15   appear pursuant to Rule 5 that they obviously have a right to
16   be heard in the district of arrest on whether they should be
17   released pending their appearance in the charging district or
18   whether they should be detained, but I usually advise them that
19   I can't predict what the charging district is going to do with
20   regards to whether they are entitled to another detention
21   hearing once they appear in the charging district.
22              So as long as we have you here today, do you
23   anticipate that regardless of what happens here today or this
24   week in the District of Oregon, is Mr. Santilli going to be
25   entitled to another detention hearing in the District of Nevada
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 6 of 8

                                                                            6

1    at the time of his initial appearance before the District of
2    Nevada magistrate judge?
3               MR. MYHRE: I can represent to the Court, Your Honor,
4    that it's been the practice in the District of Nevada that the
5    defendant who is transferred to the district will get another
6    detention hearing before either the magistrate judge before
7    whom he would appear or at the district court level.
8               THE COURT: Okay. Thank you. I just wanted to make
9    sure, in an effort to protect Mr. Santilli's rights, that he
10   wasn't under the impression that he would get the two detention
11   hearings and had to choose between one or the other. But
12   sounds like we will go forward here with the detention hearing
13   on Friday, March 11th, at 1:30 p.m. before the duty magistrate
14   judge. That decision obviously can -- either side can appeal
15   that to the assigned judge in the District of Nevada, and once
16   he makes his appearance in the District of Nevada, he may be
17   entitled to another detention hearing at that time. Is that
18   your understanding?
19              MR. MYHRE: That's my understanding, yes, Your Honor.
20              THE COURT: Okay. Thank you.
21              With that -- Mr. Coan?
22              MR. COAN: Oh, no.
23              THE COURT: I will continue Mr. Santilli's detention
24   in the District of Nevada case until we have a detention
25   hearing on Friday, March 11th, at 1:30 p.m. before the duty
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 7 of 8

                                                                            7

1    magistrate judge.
2               Mr. Coan, anything further at this time?
3               MR. COAN: No, Your Honor.
4               THE COURT: Mr. Myhre and Mr. Knight, anything
5    further at this time?
6               MR. MYHRE: Nothing from the government, Your Honor.
7               THE COURT: Thank you.
8               (Proceedings concluded.)
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
     Case 3:16-cr-00051-BR   Document 2453   Filed 01/31/18   Page 8 of 8

                                                                            8

1
2                                    --o0o--
3
4               I certify, by signing below, that the foregoing is a
5    correct transcript of the record of proceedings in the
6    above-entitled cause. A transcript without an original
7    signature or conformed signature is not certified.
8
9
     /s/Bonita J. Shumway                         January 28, 2018
10   ________________________________             _________________
     BONITA J. SHUMWAY, CSR, RMR, CRR             DATE
11   Official Court Reporter

12
13
14
15
16
17
18
19
20
21
22
23
24
25
